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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
W.R. GRACE & CO., et. al. : Case No. 01-1139 JIKF)
: (Jointly Administered)
Debtors : Objection Deadline: December 6, 2010 @ 4:00 p.m.

NOTICE OF NINETY-SIXTH MONTHLY FEE APPLICATION OF
PRICEWATERHOUSECOOPERS LLP, AUDITORS AND TAX CONSULTANTS
FOR DEBTORS, FOR ALLOWANCE OF COMPENSATION AND
REIMBURSEMENT OF EXPENSES FOR THE MONTH OF SEPTEMBER 2010

On November 16, 2010 PricewaterhouseCoopers LLP (“PwC”) filed its Ninety-Sixth Fee

Application of PricewaterhouseCoopers LLP, Auditors and Tax Consultants For Debtors, For

Allowance of Compensation and Reimbursement of Expenses for the Month of September 2010

(the “Application”) with the United States Bankruptcy Court for the District of Delaware, 824
Market Street, Wilmington, Delaware 19801 (the “Bankruptcy Court”). The Application seeks
an order approving the payment of post-petition fees and expenses incurred by PwC on behalf of
the Debtors.

Objections and other responses to the relief requested in the Application, if any, must be
in writing and be filed with the Bankruptcy Court no later than 4:00 p.m. Eastern Time on
December 6, 2010.

At the same time, you must also serve a copy of the objections or responses, if any, upon
the following: (i)counsel for PwC, Kathleen Miller, Smith, Katzenstein & Jenkins, LLP, The
Corporate Plaza, 800 Delaware Avenue, P.O. Box 410, Wilmington, DE 19899 (fax number 302-
652-8405); (ii) the Debtors, W.R. Grace & Co., Attn: David B. Siegel, Senior Vice President and
General Counsel, 7500 Grace Drive, Columbia, MD 21044; (iii) co-counsel for the Debtors,

James Kapp, Esquire, Kirkland & Ellis, 200: East Randolph Drive, Chicago, IL 60601 (fax

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number 312-861-2200), Janet S. Baer, Esquire, The Law Office of Janet S. Baer P.C., 70 W.
Madison Street, Suite 2100, Chicago, IL 60602 (fax 312-641-2165) and Laura Davis Jones,
Esquire, Pachulski, Stang, Ziehl, Young & Jones, P.C., 919 North Market Street, Suite 1600,
P.O. Box 8705, Wilmington DE 19899-8705 (fax number 302-652-4400); (iv) co-counsel for the
debtor-in-possession lender, J. Douglas Bacon, Esquire, Latham & Watkins, Sears Tower, Suite
5800, Chicago, IL 60606 (fax number 312-993-9767), and Neil Glassman, Esquire, The Bayard
Firm, 222 Delaware Avenue, Suite 900, P.O. Box 25130, Wilmington, DE 19899 (fax number
302-658-6395); (v) counsel for the Official Committee of Unsecured Creditors, Lewis Kruger,
Esquire, Strock & Stroock & Lavan, LLP, 180 Maiden Lane, New York, NY 10038-4982 (fax
number 212-806-6006), and Michael R. Lastowski, Esquire, Duane, Morris & Heckscher, LLP,
1100 N. Market Street, Suite 1200, Wilmington, DE 19801-1246 (fax number 302-657-4901);
(vi) counsel to the Official Committee of Asbestos Property Damage Claimants, Scott L. Baena,
Esquire, Bilzin, Sumberg, Dunn, Baena, Price & Axelrod, First Union Financial Center, 200
South Biscayne Blvd, Suite 2500, Miami, FL 33131 (fax number 305-374-7593), and Michael B.
Joseph, Esquire, Ferry & Joseph, P.A., 824 Market Street, Suite 904, P.O. Box 1351,
Wilmington, DE 19899 (fax number 302-575-1714); (vii) counsel to the Official Committee of
Personal Injury Claimants, Elihu Inselbuch, Esquire, Caplin & Drysdale, 399 Park Avenue, 36th
Floor, New York, NY 10022 (fax number 212-644-6755), and Mark Hurford, Esquire, Campbell
& Levine, LLC, 800 N. King Street, Suite 300, Wilmington, DE 19801 (fax number 302-426-
9947); (viii) counsel to the Official Committee of Equity Holders, Philip Bentley, Esquire,
Kramer, Levin, Naftalis & Frankel, LLP, 919 Third Avenue, New York, NY 10022 (fax number
212-715-8000), and Teresa K.D. Currier, Esquire, Saul Ewing LLP, 222 Delaware Ave.,

Wilmington, DE 19801 (fax number 302-421-6813); (ix) the Fee Auditor, Warren H. Smith,

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Warren H. Smith & Associates, Republic Center, 325 North Saint Paul Street, Dallas, TX 75201;
and (x) the Office of the United States Trustee, Frank J. Perch, Esquire, 844 King Street, Suite
2311, Wilmington, DE 19801 (fax number 302-573-6497).

IF NO OBJECTIONS ARE TIMELY FILED AND SERVED IN ACCORDANCE
WITH THIS NOTICE. THE BANKRUPTCY COURT MAY GRANT THE RELIEF
DEMANDED BY THE APPLICATION WITHOUT FURTHER NOTICE OR HEARING.

Dated: November 16, 2010 SMITH, KATZENSTEIN & JENKINS. LLP

/s/ Kathleen M. Miller

Kathleen Miller (1.D. No.2898)

The Corporate Plaza

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Attorneys for PricewaterhouseCoopers LLP

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 16day November, 2010, a copy of the foregoing
Notice of Ninety-Sixth Monthly Fee Application of PricewaterhouseCoopers LLP, Auditors
and Tax Consultants for Debtors, for Allowance of Compensation and Reimbursement of

-Expenses for the Month of September 2010 was served on the attached 2002 list by first class
mail.

/s/ Kathleen M. Miller
Kathleen M. Miller

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